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    JUDICIAL PANEL FOR MULTI-DISTRICT LITIGATION

                    MDL No. 3076


         IN THE UNITED STATES DISTRICT COURT
            FOR THE DISTRICT OF NEW JERSEY


                          Edward Lehman (IL SBN 6194489)*
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                          Seeking admission pro hac vice Attorney for
                          Plaintiffs

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                          Plaintiffs



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                          Attorney for Plaintiffs
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LUCKY D., an individual; JONG R.D., an
individual; HOW YUAN, an individual; S.
ROBERTS, an individual; B. KEN, an individual;
J. BELL, an individual; MoreBet Limited., a
United Kingdom Limited liability company; L.
ZHAO, an individual; KHOO WING, an
individual; P. DEVIN, an individual; SUNLI, an
individual; LOODS B.V., a European Union limited
liability company; S. JAMES, an individual; YANG
HOW, an individual; K. DAVID, an individual;
EDWARD JOHNS, an individual; NICKLE LEE,
an individual; S. JONG, an individual; DRAKE     Civil Action No.: 2:23-cv-00389
HK, a Hong Kong limited liability company; and   MCA-JRA
JUSTIN BERK, an individual

      Plaintiffs,
v.
PRAGER METIS, LLP
a New York limited liability partnership; and

ARMANINO, LLC
a California limited liability partnership;

      Defendants,




                              PROOF OF SERVICE


       I, Anthony Scordo, being of full age hereby certifies as follows:

       1.      I am an attorney for plaintiffs, with respect to the above referenced matter.

       2.      On July 10, 2023, I filed by ECF with the Judicial Panel for Multi-District

Litigation a Corporate Disclosure Statement for plaintiff More Bet Ltd. I hereby certify that the

foregoing statements are true and correct to the best of my knowledge and that if any of the

foregoing statements are false, I am subject to punishment.
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Dated: July 10, 2023                      s/ Anthony Scordo

                                                ANTHONY SCORDO
